
965 P.2d 1022 (1998)
327 Or. 596
Steven D. GARRATT, Petitioner on Review,
v.
BOARD OF PAROLE AND POST-PRISON SUPERVISION, Respondent on Review.
CA A90817; SC S43921.
Supreme Court of Oregon.
October 22, 1998.
Hari Nam S. Khalsa, Deputy Public Defender, Salem, filed the petition for Petitioner on Review. With him on the petition was Sally L. Avera, Public Defender.
No appearance contra.
Before CARSON, C.J., and GILLETTE, VAN HOOMISSEN, DURHAM, KULONGOSKI and LEESON, JJ.

MEMORANDUM OPINION
The petition for review is allowed. The decision of the Court of Appeals is vacated. The order of the Board of Parole and Post-Prison Supervision is vacated. The case is remanded to the Board of Parole and Post-Prison Supervision for further consideration in light of Noble v. Board of Parole, 327 Or. 485, 964 P.2d 990 (1998).
